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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

BREAKING MEDIA INC.                                      Misc No.1: 21-mc-00194-KPF
dba ABOVE THE LAW,
                                                         Associated Case: 1:18-cv-00444
                                      Petitioner,        (W.D.TX)

                   -against-
                                                         ORDER FOR ADMISSION PRO HAC
EVAN P. JOWERS,                                          VICE

                                   Respondent.
Re: Subpoena Issued in,
MWK Recruting, Inc. v.
Evan P. Jowers, et al
U.S. District Court
Western District of Texas

       The motion of Robert Tauler for Admission to practice Pro Hac Vice in the above

captioned action is granted. Applicant has declared that he is a member in good standing

of the bar of the state of Texas, and that his contact information is as follows:

       Robert Tauler, Esq.
       Tauler Smith LLP
       100 Congress Ave., Suite 2000
       Austin, TX 78701
       512-456-8760

       Applicant having requested admission Pro Hac Vice to appear for all purposes as

counsel for Respondent Evan P. Jowers in the above entitled action, IT IS HEREBY

ORDERED that Applicant is admitted to practice Pro Hac Vice in the above captioned

case in the United States District Court for the Southern District of New York. All

attorneys appearing before this Court are subject to the Local Rules of this Court,

including the Rules governing discipline of attorneys.
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The Clerk of Court is directed to terminate the motion pending at
docket entry number 21.

Dated:    March 12, 2021             SO ORDERED.
          New York, New York



                                     HON. KATHERINE POLK FAILLA
                                     UNITED STATES DISTRICT JUDGE
